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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


In re:                                         Chapter 11

FTX TRADING LTD., et al.,                      Case No. 22-11068 (JTD)

                           Debtors.            Jointly Administered




ANDREW R. VARA, UNITED STATES
TRUSTEE,
                                               U.S. District Court
                           Appellant,
                                               Case No. 1:23-cv-00241 (CFC)
                v.

FTX TRADING LTD., et al.,

                           Appellees.


    OPPOSITION OF APPELLEE, OFFICIAL COMMITTEE OF
UNSECURED CREDITORS, TO MOTION OF APPELLANT ANDREW R.
VARA, UNITED STATES TRUSTEE, TO CERTIFY DIRECT APPEAL TO
       THE COURT OF APPEALS UNDER 28 U.S.C. § 158(d)(2)

         Appellee, the Official Committee of Unsecured Creditors (the “Committee”)

appointed in the chapter 11 cases (the “Chapter 11 Cases”) of the above-captioned

debtors and debtors-in-possession (the “Debtors”), by and through its undersigned

counsel, hereby submits this Opposition (this “Opposition”) to the Motion of

Appellant Andrew R. Vara, United States Trustee, to Certify Direct Appeal to the
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Court of Appeals Under 28 U.S.C. § 158(d)(2) [Docket No. 14]1 (the “Motion”), and

in support thereof, respectfully states as follows:

                         PRELIMINARY STATEMENT2

      The Appeal presents a singular issue: “Did the bankruptcy court err in denying

the United States Trustee’s motion to appoint an examiner under 11 U.S.C. § 1104(c)?”

Statement of Issues at 2. That issue – whether appointment of an examiner is

appropriate under the particular facts and circumstances of these Chapter 11 Cases –

does not meet the applicable legal standard for certification to the Court of Appeals.

The Motion should be denied.

      The U.S. Trustee avers that its appeal “satisfies at least two of the statutory tests

for direct certification” pursuant to 28 U.S.C. § 158(d)(2)(A). Mot. at 12. To the

contrary, in both instances, the U.S. Trustee’s Motion misapprehends or misapplies

applicable law.

      First, the Appeal does not present a pure question of law for which there is no

controlling decision by the Third Circuit or the United States Supreme Court. Rather,

the U.S. Trustee appeals a mixed question of law and fact – whether appointment of an


1
   References to “Bankr. Docket No.” refer to docket entries in the Chapter 11
Cases; references to Docket No. refer to docket entries in the Appeal.
2
    Capitalized terms used in this Preliminary Statement that are not defined shall
have the meanings ascribed to them later in the Opposition or in the Motion, as
applicable.

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examiner was appropriate under the facts and circumstances of these Chapter 11 Cases

– and thus the Appeal falls outside of the statute’s ambit.

      Second, the Appeal does not involve a matter of public importance. In that

regard, the Motion suffers from the same flaw as the underlying Examiner Motion –

namely, it focuses on the importance of an investigation being conducted for the

benefit of the general public, rather than an examiner specifically conducting that

investigation for the stakeholders in these Chapter 11 Cases. As the Bankruptcy Court

recognized, appointment of an examiner is unnecessary and, indeed, inappropriate,

because such appointment would be a duplicative, additive expense borne by the

estates’ creditors, where, as here, an investigation is being performed by the Debtors

and Committee (and has now been proceeding for the past four months).

      Finally, direct review of the Appeal will not resolve any conflicts within the

Third Circuit (and the U.S. Trustee has not cited any), and thus the U.S. Trustee has

failed to satisfy the third prong of the analysis. The U.S. Trustee’s newly-minted

argument that a decision from the Third Circuit may “provide important guidance to

bankruptcy courts” is simply not relevant to the analysis under the direct appeal statute

and should be disregarded.

      Accordingly, for the reasons set forth herein, the Motion should be denied.




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                                  BACKGROUND

      On November 11 and November 14, 2022 (as applicable, the “Petition Date”),

the Debtors filed with the United States Bankruptcy Court for the District of Delaware

(the “Bankruptcy Court”) voluntary petitions for relief under title 11 of the United

States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”).

      On December 1, 2022, the U.S. Trustee filed the Motion of the United States

Trustee for Entry of an Order Directing the Appointment of an Examiner [Bankr.

Docket No. 176] (the “Examiner Motion”), seeking an order appointing an examiner

to conduct an independent investigation into the “allegations of fraud, dishonesty,

misconduct, and mismanagement by the Debtors, the circumstances surrounding the

Debtors’ collapse, the apparent conversion of exchange customers’ property, and

whether colorable claims and causes of action exist to remedy losses.” Examiner

Motion at 2.

      On December 15, 2022, the U.S. Trustee appointed nine members to the

Committee pursuant to section 1102(a)(1) of the Bankruptcy Code, having received a

“tremendous response” from people “located all over the world” who wanted to serve

on the Committee. See Notice of Appointment of Committee of Unsecured Creditors

[Bankr. Docket No. 231]; In re FTX Trading, Ltd., Dec. 14 Hr’g. Tr. at 13:4-10,

annexed hereto as Ex. A. The Committee is empowered by statute to act as a fiduciary

for all of the estates’ unsecured creditors. See, e.g., 11 U.S.C. §§ 1102, 1003.

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      On January 25, 2023, the Committee, the Joint Provisional Liquidators of FTX

Digital Markets Ltd. and the Debtors each filed an objection to the Examiner Motion

[Bankr. Docket Nos. 571, 572 and 573], respectively (each, an “Examiner Objection”).

On February 1, 2023, the U.S. Trustee filed an omnibus reply to the Examiner

Objections [Bankr. Docket No. 601].

      On February 15, 2023, after hearing testimony from the Debtors’ Chief

Executive Officer, John J. Ray III, and the parties’ arguments, the Bankruptcy Court

issued a bench ruling denying the Examiner Motion, holding, among other things, that,

“under the facts and circumstances of these cases, appointment of an examiner is not

needed.” Feb. 15 Hr’g. Tr. (the “Bench Ruling”) at 15:21-23, annexed hereto as Ex. B.

In reaching such conclusion, the Bankruptcy Court relied on the extensive evidentiary

record before it and found that:

       the Debtors are now being managed by “highly qualified professionals,” who
        have ensured that “all prior senior management of the debtors were
        removed” (Bench Ruling at 7:16-8:13);

       if appointed, an examiner would “have the same attributes as Mr. Ray and
        the independent directors,” who are already deeply involved in the
        investigations (Bench Ruling at 9:8-16);

       permitting additional parties, such as an examiner, to access the Debtors’
        “extremely vulnerable electronic information containing crypto-assets that
        have already suffered hacking incidents,” “would create an increased risk of
        further loss through inadvertent disclosures or hacking” (Bench Ruling at
        8:18-24; 15:9-20);




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       the cost of an examiner would be extremely high, “in the tens of millions of
        dollars and would likely exceed $100 million,” which would be “borne by
        the creditors” (Bench Ruling at 9:17-10:21);

       there are already “multiple investigations underway” and “[r]equiring the
        creditors to bear the burden of yet another investigation does not comport
        with the requirements of Section 1104(c)(1) or the general scheme of the
        bankruptcy code; that is to maximize recovery to creditors.” (Bench Ruling
        at 10:6-14);

       that the appointment of an examiner is not mandatory pursuant to 11 U.S.C.
        § 1104(c)(2) because, among other reasons, “[e]ven the Trustee
        concedes . . . that a Bankruptcy Court has some discretion in determining
        whether or not an examiner must be appointed under 1104(c)(2), for
        example, for a motion to appoint an examiner is being used by a creditor to
        obtain an advantage in plan negotiations. In other words, the Trustee agrees
        there are times when the appointment of an examiner would not be
        appropriate under 1104(c)(2)” (Bench Ruling at 11:2-9);

       that “every bankruptcy judge in this district to consider the issue has
        concluded that there is discretion” to appoint an examiner under 11 U.S.C.
        § 1104(c)(2) inasmuch an examiner may only be appointed when the
        circumstances are “appropriate” (Bench Ruling at 12:2-15 (collecting
        authority)); and

       that “under the facts and circumstances of these cases, appointment of an
        examiner is not needed pursuant to 1104(c)(2) and appointing one would
        impose an unnecessary burden on the debtors and ultimately the creditors for
        whose benefit these cases are being pursued. Contrary to the Trustees
        position this is not inconsistent with the language of the statute or the
        legislative history.” (Bench Ruling at 15:21-16:3).

      The Bankruptcy Court entered the Order Denying Motion for the Appointment

of an Examiner [Bankr. Docket No. 746] (the “Examiner Order”) on February 21,

2023, denying the Examiner Motion for the reasons stated in the Bench Ruling. On

March 6, 2023, the U.S. Trustee filed its notice of appeal [Bankr. Docket No. 805;


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Docket No. 1] (the “Notice of Appeal”), commencing the appeal (the “Appeal”) from

the Examiner Order.

      On March 20, 2023, the U.S. Trustee filed its Statement of Issues to be Presented

on Appeal [Bankr. Docket No. 1123; Docket No. 6] (the “Statement of Issues”), stating

the following single issue: “Did the bankruptcy court err in denying the United States

Trustee’s motion to appoint an examiner under 11 U.S.C. § 1104(c)?” On March 20,

2023, the U.S. Trustee filed a motion with the Bankruptcy Court, seeking certification

of the Appeal directly to the United States Court of Appeals for the Third Circuit (the

“Third Circuit”). When the Bankruptcy Court became divested of jurisdiction over the

Appeal pursuant to Fed. R. Bankr. P. 8006(b), (d), the U.S. Trustee then filed the

instant Motion in this Court, seeking the same relief.

                                    OBJECTION

      By its Motion, the U.S. Trustee asks this Court to certify its Appeal from the

Examiner Order for direct review by the Third Circuit pursuant to 28 U.S.C.

§ 158(d)(2)(A). That statute provides that the court before which the appeal is pending

shall certify a direct appeal to the applicable court of appeals when:

         i.   the judgment, order, or decree involves a question of law as
              to which there is no controlling decision of the court of
              appeals for the circuit or of the Supreme Court of the United
              States, or involves a matter of public importance;

        ii.   the judgment, order, or decree involves a question of law
              requiring resolution of conflicting decisions; or

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       iii.   an immediate appeal from the judgment, order, or decree
              may materially advance the progress of the case or
              proceeding in which the appeal is taken.

28 U.S.C. § 158(d)(2)(A).

      Courts have generally analyzed section 158(d)(2)(A) as containing four

disjunctive factors, breaking out the first prong of the statute into two subparts: “no

controlling decision” and “matter of public importance.” See In re Millennium Lab

Holdings II, LLC, 543 B.R. 703, 708 (Bankr. D. Del. 2016) (finding 28 U.S.C.

§ 158(d)(2)(A) actually provides “four disjunctive criteria as subpart (i) sets forth two

separate benchmarks for certification,” namely no controlling decision, matter of

public importance, resolution of conflicting decisions, and material advancement of

the case). “The twin purposes of th[is] provision [are] to expedite appeals in significant

cases and to generate binding appellate precedent in bankruptcy, whose caselaw has

been plagued by indeterminacy.” In re Pacific Lumber Co., 584 F.3d 229, 241-42 (5th

Cir. 2009) (citing H.R. REP. NO. 109–31 pt. I, at 148 (2005)).

      In its Motion, the U.S. Trustee argues that “at least two” (if not three) of the four

factors are present and thus that direct certification should be granted. Mot. at 12.

However, as set forth below, the Motion does not satisfy any of the requisite factors.3


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    In addition to conceding that it has failed to satisfy the third factor (see Mot. at
17), the U.S. Trustee does not even attempt to argue that the fourth factor (i.e.,
advancement of the case) is satisfied here. That is because an immediate appeal to
the Third Circuit would not materially advance these Chapter 11 Cases. Indeed, the
ongoing investigations being performed by the Debtors and Committee and progress
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I.     The Appeal Does Not Involve a Question of Law as to Which There is No
       Controlling Decision

          First, the Appeal does not involve a pure question of law and, accordingly, the

 U.S. Trustee cannot satisfy the criterion for a direct appeal in circumstances where an

 issue of law exists for which there is no controlling decision, as provided in 28 U.S.C.

 § 158(d)(2)(A)(i). In denying the U.S. Trustee’s Examiner Motion, the Bankruptcy

 Court expressly found that “under the facts and circumstances of these cases,

 appointment of an examiner is not needed.” Bench Ruling at 15:21-23 (emphasis

 added). Indeed, as the Bankruptcy Court noted in its Bench Ruling, the “Trustee

 concedes . . . that a Bankruptcy Court has some discretion in determining whether or

 not an examiner must be appointed under 1104(c)(2), for example, for a motion to

 appoint an examiner is being used by a creditor to obtain an advantage in plan

 negotiations. In other words, the Trustee agrees there are times when the appointment

 of an examiner would not be appropriate under 1104(c)(2).” Bench Ruling at 11:2-9;

 see also Examiner Motion at ¶ 34 (U.S. Trustee acknowledging that the Court has

 authority to limit the scope of an examination). With this backdrop, the U.S. Trustee’s

 description in its Motion of the issue on Appeal – “whether the bankruptcy court erred

 in denying the motion to appoint an examiner under 11 U.S.C. § 1104(c)(2) although




 towards a plan of reorganization in these Chapter 11 Cases will not be impacted by
 this Appeal proceeding through traditional appellate channels.

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it is uncontested that the statutory requirements for appointment are satisfied[]” (see

Mot. at 10) – has embedded in it a question of fact: did the Bankruptcy Court correctly

determine, based on the facts and circumstances of the case, that appointment of an

examiner to conduct an investigation is not appropriate?

       In these circumstances, courts in this district have routinely held that where an

appeal involves mixed questions of law and fact, certification for direct review under

section 158(d)(2)(A)(i) is inappropriate. See, e.g., In re Am. Home Mortg. Inv. Corp.,

408 B.R. 42, 44 (D. Del. 2009) (“[I]ssues that are specifically linked to the Bankruptcy

Court’s decision are, in the Court’s view at this juncture, mixed questions that

implicate the particular circumstances of this case, and as such, they are not pure legal

questions warranting direct certification.”); In re Tribune Co., 477 B.R. 465, 472

(Bankr. D. Del. 2012) (“The issue . . . is not a pure legal issue; it is not appropriate for

direct appeal.”); see also Weber v. United States, 484 F.3d 154, 158 (2d Cir. 2007)

(noting that legislative history confirms that Congress intended the statute to allow

courts of appeals to “facilitate [their] provision of guidance on pure questions of law”)

(emphasis added).

       Moreover, the Bankruptcy Court’s well-reasoned Bench Ruling was consistent

with every other ruling by a bankruptcy court in this district to consider the issue. See

Bench Ruling at 12:16-13:5 (collecting authority). Thus the “twin purposes” of the

direct certification statute – (i) expediting appeals in significant cases (which, as

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  discussed above, the U.S. Trustee does not even attempt to argue is necessary) and (ii)

  creating binding precedent where case law is “plagued by indeterminacy” – are simply

  not present here, where the decisions among bankruptcy courts in this district have

  been uniform. In re Pacific Lumber Co., 584 F.3d at 241-42.

II.   The Appeal Does Not Involve a Matter of Public Importance

        Second, direct appeal is not warranted because the Appeal does not involve a

  matter of public importance. The U.S. Trustee argues that its Appeal qualifies as a

  matter of public importance because “[t]he collapse of FTX raises concerns . . . about

  the cryptocurrency industry generally.” Mot. at 16. However, the U.S. Trustee

  misapplies the standard to establish “public importance.” It is not sufficient that

  members of the public may be interested in the underlying bankruptcy cases or even

  in the outcome of this litigation4 – rather, the issue on appeal must “transcend[] the

  litigants and involve[] a legal question the resolution of which will advance the cause

  of jurisprudence to a degree that is usually not the case.” In re Am. Home Mortg. Inv.


  4
      Although the Committee agrees that the general public’s interest in these cases
  has been immense, that interest does not give rise to a “public importance” for
  purposes of the direct appeal statute. Cf. In re Nortel Networks Inc., Nos. 15-196-
  LPS, 15-197-LPS, 2016 WL 2899225, at *5 (D. Del. May 17, 2016) (finding that
  “public scrutiny” may amount to public importance where, unlike here, the public
  had an interest in the outcome of the legal question of how the debtors’ assets would
  be distributed and whether such allocation methodology comported with U.S. law).
  Here, the Appeal involves an issue that is, in part, necessarily factual (and thus will
  not “advance the cause of jurisprudence”) and will not impact interested members
  of the public who are not party to this litigation (i.e., individual creditors of FTX).

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Corp., 408 B.R. at 44 (emphasis added); In re Sabine Oil & Gas Corp., 551 B.R. 132,

141-42 (Bankr. S.D.N.Y. 2016) (declining to find issue of public importance based on

argument that dispute received substantial news coverage or because industry

members were watching closely).

      Initially, as previously discussed, this Appeal raises a mixed question of law and

fact and thus cannot be considered a “question of law . . . involv[ing] a matter of public

importance.” 28 U.S.C. § 158(d)(2)(A)(i); see also In re Aerogroup Int’l, Inc., No. BR

17-11962 (CSS), 2020 WL 757892, at *5 (D. Del. Feb. 14, 2020) (declining to find

issue of public importance because “an issue involving a mixed question of law and

fact generally does not constitute a matter of public importance”).

      Moreover, while some courts have found an alternative basis for satisfying the

“public importance” prong when there are “important practical ramifications” to an

appeal (even where there is no threshold determination of a question of law), this

Appeal does not involve such ramifications. See In re Aerogroup Int’l, Inc., 2020 WL

757892, at *5 (citing Jaffe v. Samsung Electronics Co. (In re Qimonda AG), 470 B.R.

374, 386-89 (E.D. Va. 2012) (finding that a matter may be of public importance where

it could impact a large number of jobs)). Other than conclusory statements about the

importance of the Chapter 11 Cases to the cryptocurrency industry on the whole (see

Mot. at 16), the U.S. Trustee provides no support for its argument that mandatory

appointment of an examiner in circumstances that the Bankruptcy Court found are not

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   appropriate has important practical ramifications. The U.S. Trustee’s arguments

   effectively conflate the general need for an investigation of the Debtors’ prepetition

   activities – which the Committee very much agrees is of great importance – with the

   need for such investigation to specifically be conducted by an examiner (and, by

   extension, the U.S. Trustee avers that the public will suffer if such an investigation is

   not conducted by an examiner). Thus, the only “practical ramification” of this Appeal,

   should the U.S. Trustee prevail, is to burden the creditors in these Chapter 11 Cases

   with the significant costs of an examiner. The Bankruptcy Court determined that an

   investigation by an examiner would be duplicative of the “multiple investigations

   [already] underway by incredibly competent and independent parties,” and thus would

   not benefit the public or be in the best interests of the Debtors’ estates. See Bench

   Ruling at 10:6-10; 14:7-12; 15:21-16:1. Thus, the “cryptocurrency industry generally”

   (Mot. at 16) is already being served by an able and competent investigation, and there

   is no practical ramification in having an examiner do the same.

III.   Direct Review of the Appeal Will Not Help Resolve Conflicting Decisions
       Within This Circuit

         Third, certification for direct review of this Appeal by the Third Circuit is not

   warranted because it will not resolve conflicting decisions within this circuit.

         In support of its Motion, the U.S. Trustee primarily points to three out-of-circuit

   decisions that conflict with the consistent body of Delaware bankruptcy and district

   court decisions on the issue raised by the Appeal. Mot. at 18. However, a conflict

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between a Delaware bankruptcy court decision and out-of-circuit decisions does not

satisfy the direct appeal standard because the conflict is not within this circuit. See In

re Millennium Lab Holdings II, LLC, 543 B.R. at 715 (concluding that inter-circuit

splits do not satisfy section 158(d)(2)(A)(ii)); see also 1 Collier on Bankruptcy P 5.06

(16th 2023) (the requisite conflict for section 158(d)(2)(A)(ii) can “exist among

bankruptcy judges in the same district or different districts, among district courts in the

same district or different district, or among appellate panels in the same circuit”)

(emphasis added).

      The U.S. Trustee freely admits in the Motion that there is no conflict within this

circuit, and correctly notes that an inter-circuit conflict does not trigger section

158(d)(2)(A)(ii). Mot. at 17. This makes perfect sense in light of the plain meaning of

the statute that allows the Court to directly certify an appeal when “the judgment, order,

or decree involves a question of law requiring resolution of conflicting decisions.” 28

U.S.C. § 158(d)(2)(A)(ii) (emphasis added). The Third Circuit cannot resolve a

conflict between itself and the Sixth Circuit – the only court with that power is the

United States Supreme Court. See In re Goody’s Fam. Clothing, Inc., No. CIV.A. 09-

409RMB, 2009 WL 2355705, at *2 (D. Del. July 30, 2009) (“In any event, the Third

Circuit is not empowered to ‘resol[ve] ... conflicting decisions’ between circuits.”)

(citation omitted); In re IMMC Corp., No. AP 10-53063 (BLS), 2016 WL 356026, at

*7 (D. Del. Jan. 28, 2016) (finding no conflicting decisions within Third Circuit, and,

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with respect to cases outside Third Circuit, “the Third Circuit is not empowered to

resolve conflicting decisions between circuits”).

      To make up for this deficiency in its argument, the U.S. Trustee attempts to

invent a completely new basis for certification. See Mot. at 17 (claiming that direct

review may “provide important guidance to bankruptcy courts”). Of course, this

language cannot be found in 28 U.S.C. § 158(d)(2)(A). Regardless, the decisions of

bankruptcy courts in this district have been uniform and these courts are simply not in

need of expedited Third Circuit guidance on this issue. Thus, no conflict exists for

purposes of section 158(d)(2)(A)(ii) and direct certification is not warranted for this

additional reason.

                                   CONCLUSION

      WHEREFORE the Committee respectfully requests that this Court deny the

Motion and grant such other and further relief as the Court finds just and appropriate.




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Dated: April 20, 2023         YOUNG CONAWAY STARGATT &
      Wilmington, Delaware    TAYLOR, LLP

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. Bankr. P. 8015(h), the undersigned hereby certifies that this

Opposition complies with the type-volume limitation of Fed. R. Bankr. P.

8013(f)(3)(A), as well as the type, font and word limitations set forth in this Court’s

Standing Order Regarding Briefing in All Cases. Exclusive of the exempted portions

specified in Fed. R. Bankr. P. 8015(g), this Opposition contains 3,347 words. This

Opposition has been prepared using Microsoft Word. The undersigned has relied upon

the word count feature of this word processing software in preparing this certificate.

April 20, 2023                                        /s/ Robert F. Poppiti, Jr.
                                                      Robert F. Poppiti, Jr.
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                                 Exhibit A
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                                                                          1


   1                      UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF DELAWARE
   2

   3   IN RE:                      .       Chapter 11
                                   .       Case No. 22-11068 (JTD)
   4   FTX TRADING LTD., et al.,   .
                                   .
   5                               .       Courtroom No. 5
                                   .       824 Market Street
   6                Debtors.       .       Wilmington, Delaware 19801
                                   .
   7                               .       Wednesday, December 14, 2022
       . . . . . . . . . . . . . . .       11:00 a.m.
   8
                             TRANSCRIPT OF HEARING
   9                  BEFORE THE HONORABLE JOHN T. DORSEY
                      CHIEF UNITED STATES BANKRUPTCY JUDGE
  10
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  11
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  25   transcript produced by transcription service.
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                                                                          2


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       MOTIONS:                                                           PAGE
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       Agenda
   4   Item 1: Motion of the Joint Provisional Liquidators of                 4
               FTX Digital Markets Ltd. for Entry of an Order
   5           Shortening the Notice and Objection Periods with
               Respect to the Emergency Motion of the Joint
   6
               Provisional Liquidators of FTX Digital Markets
   7           Ltd. (I) for Relief from Automatic Stay and (II)
               to Compel Turnover of Electronic Records Under
   8           Sections 542, 1519(A)(3), 1521(A)(7) and 1522 of
               the Bankruptcy Code
   9           [D.I. 199, filed on December 9, 2022]

  10              Court’s Ruling:                                             21

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   1          (Proceedings commence at 11:01 a.m.)

   2              THE COURT:     Good morning.    This is Judge Dorsey.

   3   We’re on the record in FTX Trading Limited, Case Number 22-

   4   11068.

   5              Before we begin let me just remind everyone that

   6   even though this hearing is remote it is a formal Court

   7   hearing.   So if you are not speaking or not presenting,

   8   please, keep your camera off and your lines muted.

   9   Interruptions will not be tolerated and you will be removed

  10   if you interrupt the proceeding and not be allowed back in.

  11              So with that -- I requested this hearing on the

  12   motion to shorten that was filed by the joint liquidators in

  13   the Bohemian proceeding.      Ordinarily I wouldn’t hold a

  14   hearing on a motion to shorten, but I wanted to take the

  15   opportunity to talk to the parties about where we are in this

  16   case and what’s going on.

  17              It seems to me -- I understand that there is a lot

  18   of heated debate between the parties here over what is

  19   happening, but I do believe that there must be some path

  20   forward here to resolve the concerns of everybody involved.

  21   I think everyone would agree -- Mr. Bromley, I will give you

  22   the chance to tell me I’m wrong, if I’m wrong, but I think

  23   everyone agrees that the joint liquidators are entitled to

  24   the data and information that relates to their debtor entity

  25   that is in liquidation in the Bahamas.
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   1              Is there any dispute about that issue, Mr. Bromley?

   2              MR. BROMLEY:     Yes, there is, Your Honor.

   3              THE COURT:     I’m sorry, there is a dispute or, no,

   4   there isn’t?

   5              MR. BROMLEY:     Yes, there is a dispute.

   6              THE COURT:     Okay.    Over whether they’re entitled to

   7   their own information?

   8              MR. BROMLEY:     Well, the requests are not just for

   9   information, Your Honor.      The requests are for dynamic access

  10   to live systems.     We believe that that is inappropriate.            So

  11   in terms of static information we are certainly happy to sit

  12   down and talk about that.         Dynamic access we believe should

  13   not be permitted.

  14              THE COURT:     Well how are they going to run their

  15   case in the Bahamas if they don’t have access, dynamic

  16   access, to, at least, their own information?

  17              I can separate this out.       Is there a distinction --

  18   are you telling me there is an issue with regard to -- that

  19   the only way to provide this information is to provide them

  20   access to the entire system and there is some concern about

  21   that or is there a way to provide just dynamic access to

  22   their own information?

  23              MR. BROMLEY:     I think there’s a way, Your Honor, at

  24   this point, right, to provide static information and we are

  25   happy to sit down, and have a meet and confer about how that
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   1   static information might be able to be provided.

   2              The concern we have with respect to dynamic access

   3   to live systems is that we believe that any dynamic access

   4   will be provided immediately to the Government of the Bahamas

   5   and, in particular, the Securities Commission.          And to date

   6   any access that the Securities Commission has had to our

   7   systems has led to the relief from the debtors of digital

   8   assets.   And we do not believe that that should be permitted.

   9              We do not believe that that should be permitted.

  10   We do not believe that there is a separation between the

  11   JPL’s and the Securities Commission at this point in time,

  12   certainly no separation that provides the debtors with

  13   comfort that whatever is provided to the JPL’s will not be

  14   provided immediately to the Securities Commission.

  15              THE COURT:     Well, Mr. Shore, what is the

  16   relationship between the JPL’s and the Securities Commission

  17   in the Bahamas?

  18         (No verbal response)

  19              THE COURT:     You’re muted, Mr. Shore.

  20              MR. SHORE:     I’d like to, at some point, speak to

  21   the larger issues Your Honor is referencing and certainly

  22   respond to what Mr. Bromley is saying.

  23              In response to your question the JPL’s are the

  24   analog would be a Chapter 11 Trustee.         The commission’s

  25   analog is the SEC.      So no more than Mr. Bromley can be blamed
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   1   for or be accused of being an arm of the SEC, the JPL’s are a

   2   Court created trustee liquidating FTX Digital.

   3              THE COURT:     Well is there --

   4              MR. BROMLEY:     Your Honor --

   5              THE COURT:     -- any -- let me just get to my point;

   6   is there any use in my ordering the parties to mediate this

   7   issue or, at least, sit down and talk to each other about

   8   this issue, or is -- are we to the point where I’m going to

   9   have to have a full evidentiary hearing on these issues and

  10   make a decision?

  11              MR. SHORE:     I’d like to think that the parties can

  12   work it out.    The one situation we can’t be held into or put

  13   into is having that meet and confer, having the debtors raise

  14   these, sort of, issues and, essentially, set the bar as being

  15   the JPL’s must prove that there was no collusion between the

  16   commission and SBF before they can get dynamic access to the

  17   information and then have everybody disappear for the

  18   holidays so, essentially, we get timed out.

  19              So if what is going to happen here, which is what I

  20   was going to propose, is that the Court set this hearing for

  21   Friday, Monday, I know Your Honor has travel plans, but at

  22   least some control date so that if we don’t get to resolution

  23   we can, at least, come back to Your Honor with discreet

  24   issues to be resolved.

  25              So, for example, we have made very clear to the
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   1   Sullivan & Cromwell team how about just getting us a clone of

   2   the system.    We don’t need dynamic information right now.            We

   3   can get back their access right now.         Can’t you just get us a

   4   clone?   And Mr. Bromley is saying what I want to do is sit

   5   down with Mr. Shore, have our respective teams sit down, and

   6   they can discuss the shape of a clone.

   7              That is not going to work.        He can’t appear in

   8   Court today and say we have no problem giving a clone, but

   9   they just need to sit down and talk to us about what that

  10   clone is going to look like.       It’s got to be resolved in the

  11   next couple of days, not weeks, certainly not months.

  12              MR. BROMLEY:     Your Honor, that is a conclusion, not

  13   an argument.    Mr. Shore has given no indication as to why

  14   there is anything that needs to be done in the next couple of

  15   days, first of all.

  16              Second, Mr. Shore and his colleagues have not

  17   simply said we are willing to take a clone of static

  18   information.    Their motion asks for live dynamic access.             The

  19   information that we have provided to the Court, and we

  20   provided yesterday to Congress from Mr. Ray’s testimony,

  21   indicates that the Securities Commission of the Bahamas has

  22   already collaborated with the JPL’s to obtain access to

  23   digital assets and to mint tokens.        The JPL’s have been

  24   involved in that.     The JPL’s went to Court after the fact to

  25   get approval to approve violations of the automatic stay that
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   1   occurred.

   2               Mr. Shore can shake his head all he wants, that is

   3   what the evidence shows.

   4               So we are happy to sit down.        We’re happy to have a

   5   mediation.    We’re happy to talk about providing static

   6   information, but I will tell Your Honor with respect to

   7   dynamic information we can have a hearing on Friday, we will

   8   go immediately -- if the ruling is against us we will go

   9   immediately on appeal and seek a stay pending appeal.

  10               This is dangerous information.        We do not trust the

  11   Bohemian Government and because of the evidence we have in

  12   terms of the actions to date of the JPL’s we simply don’t

  13   trust that the JPL’s will be able to hold this information

  14   and not provide it to the Bohemian Government.

  15               MR. SHORE:     Your Honor, while I appreciate your

  16   desire to shortcut this can we just maybe get into the

  17   hearing because what was just said is exactly what a Chapter

  18   15 is not supposed to be.

  19               MR. BROMLEY:     And we don’t have a Chapter 15

  20   approval yet either.

  21               MR. SHORE:     Okay.   All right.

  22               THE COURT:     Hold on.   I am not going forward with

  23   the hearing today.       It’s not going to be Friday either.       It’s

  24   probably not going to be before next year because this is

  25   going to be a full evidentiary hearing and for an evidentiary
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   1   hearing it’s live, and I expect witnesses in the Courtroom,

   2   and presented live before me so I can judge credibility.

   3   That is not something that can happen Friday, or Monday, or

   4   even before the Christmas holiday.

   5              So if we are going to have to go forward with a

   6   hearing it’s going to be in January.         I can give the parties

   7   January 6th beginning at 9:30 a.m.        As I said, it will be a

   8   live hearing.

   9              These are serious allegations and, obviously, this

  10   is a gating issue that I am going to have to resolve before

  11   we can move forward with how to proceed with the dynamic

  12   between the Bohemian proceeding and this proceeding. I am

  13   hoping there is still some way to resolve this before we get

  14   to January 6th.     I would highly encourage the parties to talk

  15   to each other and if you think it would be productive to find

  16   a mediator to help mediate that issue as well.

  17              I don’t know if there is a way to fashion an order,

  18   Mr. Bromley, that would limit the ability of the JPL’s

  19   similar to what you might have in a 502 motion order that

  20   limits the ability of the JPL’s to share that information.

  21   They can share it with their advisors, obviously, and

  22   themselves, and that’s it.       Maybe that is a possibility of a

  23   way to move forward, but I will leave that to the parties to

  24   see if you can work something out.        If not I will hear

  25   everybody on the 6th.
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   1              MR. SHORE:     Your Honor, if I may be heard for a

   2   little bit on this because I think there is another

   3   perspective to this and I think Mr. Bromley is wrong when he

   4   says this is not a Chapter 15.        We filed.    We have come and

   5   asked for provisional relief and ultimately what I am going

   6   to ask Your Honor, which you were mentioning, is I would like

   7   you to keep a controlled date on Friday to see if Your Honor

   8   can’t resolve not issues about whether the Bohemian

   9   Government was in cahoots with SBF which, I agree, would be

  10   an evidentiary hearing, but rather whether or not we can

  11   fashion an order that provides protection for the legitimate

  12   concerns that Mr. Bromley has raised.

  13              THE COURT:     Well --

  14              MR. SHORE:     I’ve got to say, in the last 30 years I

  15   have seen a lot of cases go off the rails where accusations

  16   like this fly and every hearing turns into a charge

  17   referendum on the case, and it becomes overly expensive,

  18   burdensome on the Court, and value destructive.

  19              So when the CRO of the debtor appears and testifies

  20   in front of Congress with respect to what the debtor is

  21   doing, the investigations that are going on, and that a

  22   foreign Government has colluded with somebody who is jailed

  23   right now we’re, at least, tilting on the rails.

  24              I just -- on behalf of my client it may come to

  25   that, but its way too early in our case for this case to
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   1   devolve.   I agree with Your Honor, there has got to be a way

   2   the professionals can work this out without getting into the

   3   kind of accusations that are flying.

   4              THE COURT:     All right.

   5              MR. SHORE:     To be clear, we filed the pleading this

   6   morning, Your Honor.      It attaches a declaration that Mr. Ray

   7   could not have seen, nor counsel could have seen, which

   8   belies this notion that what the commission was doing was

   9   working with SBF.     In fact, the email they attach where SBF

  10   says --

  11              THE COURT:     Well, I’m not going to get into the

  12   merits of it at this point, Mr. Shore.         We will talk about

  13   that on the 6th if we get to it.

  14              MR. SHORE:     Okay.     But recognize --

  15              THE COURT:     Hold on, Mr. Shore.        I want to move on.

  16              MR. SHORE:     Sure.

  17              THE COURT:     Let’s talk about the 16th.        We have the

  18   motion objecting to the seal by the U.S. Trustee.               Is the

  19   U.S. Trustee on the line, someone from the U.S. Trustee?

  20              MS. SARKESSIAN:        Yes, Your Honor.     Juliet

  21   Sarkessian for the U.S. Trustee.

  22              THE COURT:     Ms. Sarkessian, I have some concerns

  23   about that hearing going forward on Friday from a number of

  24   perspectives.

  25              Number one, the motion implicates individual
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   1   creditors and there is no creditor’s committee yet.           I think

   2   the creditor’s committee would want to weigh-in on that

   3   motion.    Do we know yet when the committee will be formed?

   4              MS. SARKESSIAN:      Your Honor, first, I -- maybe

   5   apology is not the right word, but we had hopes to have a

   6   committee formed by this time.        We had a tremendous response

   7   and people are located all over the world.          Unfortunately it

   8   becomes a little bit difficult when people are in very

   9   different time zones, and there is a lot of complicated

  10   information, as I’m sure Your Honor can imagine.

  11              So we are moving as expeditiously as possible.           You

  12   know, and we hope to be filing a notice of appointment very

  13   soon. I can’t say anything more than that other than very

  14   soon.

  15              I do have concerns.      You know, they, obviously,

  16   have to choose counsel.      So, you know, I think there

  17   certainly is a reasonable possibility that they might not

  18   have counsel by Friday or maybe they have it by Thursday, but

  19   there is not, you know, as much time as one would like for

  20   them to have.

  21              So I mean Your Honor certainly brings up a valid

  22   concern.    We had hoped it would be different.        We had hoped

  23   that we would have a committee formed by this time, but the

  24   reality is due to circumstances outside of our control it has

  25   not yet happened.
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   1              THE COURT:     Okay.     I also noticed the Trustee also

   2   objected to a consolidated creditor matrix on similar grounds

   3   on the redaction of the creditor information, I believe.

   4              MS. SARKESSIAN:        Your Honor, that was the motion I

   5   was talking about.

   6              THE COURT:     Oh, okay.

   7              MS. SARKESSIAN:        So there was two motions, seal

   8   motions; one of them relates to the

   9   indemnification/exculpation motion and I will allow the

  10   debtor to address that, but understanding, based on

  11   discussions as well as the agenda, is that they are agreeing

  12   for that to be unsealed.

  13              THE COURT:     Okay.

  14              MS. SARKESSIAN:        With respect to the other motion

  15   relates to the creditor matrix, schedules and statements, top

  16   50 list, and pretty much any document in the case that would

  17   have names or addresses of creditors or customer/creditors.

  18              THE COURT:     Okay.

  19              MS. SARKESSIAN:        So that is the motion I was

  20   discussing that we did file an objection to.

  21              THE COURT:     Okay.

  22              MS. SARKESSIAN:        We have not technically filed an

  23   objection to the other motion because they said, effectively,

  24   they’re -- I don’t know if withdrawal is the right word, but

  25   they’re not going to pursue that relief on a final basis.
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   1              THE COURT:     Okay.     I also have the motion to

   2   intervene filed by members of the media.         I don’t know if

   3   anyone plans on objecting to the motion to intervene, but I

   4   certainly want to give the media the opportunity to

   5   participate in that hearing as well.

   6              So, Ms. Sarkessian, should we -- should I set

   7   another date now in January or do you want to wait to see

   8   when the committee is formed, and retains counsel, and has an

   9   opportunity to talk to you about how to go forward?

  10              MS. SARKESSIAN:        So, Your Honor, I just want to be

  11   clear; Your Honor is asking that the hearing on Friday on the

  12   motion to seal the creditor matrix be put off until after the

  13   committee is formed?

  14              THE COURT:     Yes.

  15              MS. SARKESSIAN:        I think, Your Honor -- okay.     So

  16   you want a date in January.         I guess my feeling is it would

  17   probably be best if we could schedule that now and -- I mean,

  18   I think a committee is going to be formed in very short

  19   order.   We are not going to be in a situation, I pray, that

  20   we’re in January and we don’t have a committee.           So I think

  21   that scheduling it now would actually be very helpful.

  22              THE COURT:     Okay.     My first week of January is

  23   booked because I have a two day evidentiary in another

  24   Chapter 15 on recognition for the 4th and the 5th.           I just

  25   scheduled the 6th for a hearing on the relief from stay from
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   1   the liquidators. So it would have to be pushed into the week

   2   of January 9th.

   3              MR. BROMLEY:     We do have a hearing, Your Honor,

   4   already scheduled for the 11th, our second day hearing.            We

   5   could put it on that day.

   6              THE COURT:     I do see that, yes.      All right.

   7              Does that work, Ms. Sarkessian, to add it to the

   8   agenda for the second day hearing?

   9              MS. SARKESSIAN:      I believe so, Your Honor.       I don’t

  10   see any problem with respect to that.         I don’t know what the

  11   debtors intend, if they intend to put, you know, any

  12   witnesses on, but I don’t expect.        My hope would be that it

  13   would not be -- if there is testimony that it would not be

  14   extensive.     So hopefully that would fit into -- if I could

  15   just ask Your Honor how much time you have on the 11th.

  16              THE COURT:     Well I have --

  17              MS. SARKESSIAN:      If it’s only an hour that might be

  18   a problem.

  19              THE COURT:     -- it scheduled beginning at 10 for the

  20   second day hearing.     I have three other hearings in the

  21   afternoon.     I probably can’t -- they’re not going to come

  22   off, at least two of them are not going to come off because

  23   they’re contested hearings. So we would probably have -- I

  24   can move it -- we could start at 9 a.m. and you would have

  25   until 12:30.    I don’t know what other objections might be
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   1   raised at that time to any of the motions that were presented

   2   at the first day hearing.

   3              I assume, Mr. Bromley, you are going to be calling

   4   witnesses for the seal motion.

   5              MR. BROMLEY:     We will have a declarant, Your Honor.

   6   And that is assuming that we are not able to resolve the

   7   issues with the creditors committee once they’re appointed.

   8              THE COURT:     Well if there is going to be cross the

   9   witness have to be here even if it’s a declarant.

  10              MR. BROMLEY:     Correct.

  11              THE COURT:     All right.     So let’s move -- we’re

  12   going to move that hearing then, Ms. Sarkessian, and Mr.

  13   Bromley, to the second day hearing on January 11th.

  14              Mr. Bromley, circling back on what Ms. Sarkessian

  15   said about the indemnification motion are we in agreement on

  16   that one that is going to be unsealed?

  17              MR. BROMLEY:     Yes, we are, Your Honor.

  18              THE COURT:     Okay.

  19              MS. SARKESSIAN:        Your Honor, if I could just ask a

  20   favor for the start time for the hearing.          I am thinking, and

  21   Mr. Bromley can indicate otherwise, I’m thinking that three

  22   hours should be enough.      Just based on my schedule it would

  23   be much easier if we started at 9:30 if that did not

  24   inconvenience the Court.

  25              THE COURT:     Go ahead, Mr. Bromley.
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   1              MR. BROMLEY:     We do have other things -- I’m sorry,

   2   Your Honor, it is our second day hearing so we do have a fair

   3   amount on the calendar for that day.         We are, obviously,

   4   going to work to resolve all of those issues.          I do respect

   5   that Ms. Sarkessian’s time concerns, but --

   6              MS. SARKESSIAN:      That’s okay.    That’s okay.     If

   7   there is any issue we will start at 9.         I will make the

   8   arrangements.

   9              MR. BROMLEY:     Okay.   We will continue to work to

  10   resolve the issues just like we resolved the issues for the

  11   sealing on Friday.

  12              THE COURT:     All right. The other possibility is we

  13   can always -- I can try to rearrange and move my other

  14   hearings in the afternoon to the 12th, the next day.            I will

  15   ask my Chambers to do that so that that would free up the

  16   entire day for this case because I do have time.           The other

  17   option is if we can’t move any of those off from the 11th I

  18   have time on the 12th in the afternoon that we can always

  19   continue the second day hearing on the 12th in the afternoon.

  20              MS. SARKESSIAN:      I mean, Your Honor, from my

  21   perspective I -- again, even with the other motions that are

  22   on for that date I don’t really expect this would take more

  23   than three hours or three and a half hours.          I would not want

  24   to inconvenience the Court with trying to move the afternoon

  25   hearings, but I also don’t know what other motions or
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   1   applications the debtors might be filing that, you know,

   2   retention applications and what not that could be scheduled.

   3               If the debtors feel that it is helpful for the

   4   Court to try to move those afternoon hearings I don’t object.

   5   I don’t want to inconvenience other people if it’s not

   6   necessary.

   7               THE COURT:    All right.    Well that brings me to the

   8   next issue which is the liquidator’s motion to dismiss that

   9   was filed on Monday and set for a hearing on the 11th which,

  10   Mr. Shore, in the future if you -- that was not an omnibus

  11   date, that is a second day hearing.        So it was not an open

  12   invitation to schedule something.        You need to contact

  13   Chambers to request a date for -- particularly a motion like

  14   a motion to dismiss. I mean that is going to be an

  15   evidentiary.

  16               MR. SHORE:    Understood, Your Honor.      We will do

  17   that in the future.      I will discuss it with Cleary or

  18   Sullivan about when that can go forward.

  19               THE COURT:    Yeah, let’s find another date to handle

  20   that one.

  21               All right.    That brings me to, I wanted to ask

  22   about the motion for recognition.        Where are we are on that,

  23   Mr. Shore?     Are we going forward?     What is happening?

  24               MR. SHORE:    We are still trying to see if we

  25   couldn’t resolve that. I think that is going to be part of a
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   1   package of discussions that have to occur kind of now to see

   2   how we are proceeding.

   3              THE COURT:     All right.    Well let’s try to get that

   4   resolved as well here.

   5              So let me circle back then to the request by Mr.

   6   Shore to have the 16th as -- I guess it would be kind of a

   7   status conference on where the parties are on the issue of

   8   the relief from stay.

   9              Mr. Bromley, do you have a position on that?

  10   Everyone was going to be available anyway.          So I assume

  11   everybody is available.

  12              MR. BROMLEY:     We are available, Your Honor.        We

  13   would like to have the opportunity to meet with the folks

  14   from White & Case.      We would also like to include in that

  15   conversation the Securities Commission of the Bahamas who we

  16   think is an essential party to these conversations.

  17              Our view is that we would be amenable to mediation.

  18   We believe that before you go to mediation you should, at

  19   least, sit down and try to talk about it.          We know that the

  20   commission has US counsel because they have contacted us on

  21   other matters.     We believe that hopefully now with Mr.

  22   Bankman-Fried in custody in the Bahamas there might be a way

  23   forward that we can move along with a cooperative

  24   relationship.    If this is going to be an attempt to seize

  25   control of these debtors’ cases and move them to the Bahamas
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   1   we will fight them with all our strength.

   2              THE COURT:     Let me ask: Is there anyone on the call

   3   from the Bohemian Securities Commission just by chance?

   4              MS. RINNE:     Yes, Your Honor.     This is Blair Rinne

   5   from Brown Rudnick.

   6              MR. AULET:     This is Kenneth Aulet also from Brown

   7   Rudnick, Your Honor.

   8              THE COURT:     You can turn your cameras on so I can

   9   see you, please.

  10              MR. AULET:     Just to be clear, Your Honor, while we

  11   are attending the hearing to observe we are not entering an

  12   appearance. The Bohemian Securities Commission is not

  13   consenting to personal jurisdiction in this Court.

  14              THE COURT:     Well I was only going to ask if you

  15   were willing to sit down with the joint liquidators and the

  16   debtors here to talk about a path forward.

  17              MR. AULET:     Your Honor, we will take it back to our

  18   client.   We are always happy to (indiscernible).

  19              THE COURT:     I think it would be helpful.       It might

  20   help resolve some of the concerns that the debtors here have

  21   if they can talk to the commission.        So I would highly

  22   recommend doing that and encourage the commission to

  23   participate in that discussion.

  24              So I will leave the 16th on then as a status

  25   conference to see where we are on this issue on the motion
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   1   for relief from the automatic stay and the turnover of the

   2   records.   We will go from there.

   3              Did I set a date for that one?        I didn’t set a

   4   date.   We will talk about that on Friday, I guess.          That is

   5   what I set for the 6th, right, January 6th.          So that is set

   6   for the 6th.    We will discuss it on Friday, see where we are,

   7   and see if it’s necessary to go forward on the 6th.           So if

   8   there is something else I can do to help accommodate the

   9   party’s attempts at mediation.

  10              MR. SHORE:     What time on Friday, Your Honor?

  11              THE COURT:     It is currently scheduled at 10 a.m.,

  12   and we will just leave it at 10.

  13              MR. SHORE:     Okay.   We will be busy between now and

  14   then.

  15              THE COURT:     Mr. Landis, you turned your camera on.

  16   Do you have anything else?

  17              MR. LANDIS:     Yes, I did, Your Honor.      I just wanted

  18   to note for the record -- Adam Landis of Landis Rath & Cobb,

  19   co-counsel to the debtors.

  20              We will file an amended agenda reflecting Your

  21   Honor’s rulings in moving the various hearings.           We will get

  22   that on file as soon as possible.

  23              THE COURT:     Okay.   Great.   Thank you.     I appreciate

  24   that.

  25              Anything else then before we adjourn?
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   1         (No verbal response)

   2              THE COURT:     Thank you.    I appreciate everyone

   3   getting on the call on shortened notice and hopefully we can

   4   continue to talk and move these things forward.           Until then I

   5   will see everyone on Friday morning.

   6              MR. BROMLEY:     Thank you very much, Your Honor.

   7              THE COURT:     We’re adjourned.

   8         (Proceedings concluded at 11:29 a.m.)

   9

  10

  11

  12

  13                                CERTIFICATION

  14                I certify that the foregoing is a correct

  15   transcript from the electronic sound recording of the

  16   proceedings in the above-entitled matter to the best of my

  17   knowledge and ability.

  18

  19   /s/ Mary Zajaczkowski                              December 14, 2022

  20   Mary Zajaczkowski, CET-531

  21   Certified Court Transcriptionist

  22   For Reliable

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  24

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                                 Exhibit B
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                                                                          1

   1                      UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF DELAWARE
   2

   3   IN RE:                      .       Chapter 11
                                   .
   4   FTX TRADING LTD., et al.,   .       Case No. 22-11068 (JTD)
                                   .
   5                               .       (Jointly Administered)
                                   .
   6                               .       Courtroom No. 5
                                   .       824 Market Street
   7                Debtors.       .       Wilmington, Delaware 19801
                                   .
   8                               .       Wednesday, February 15, 2023
       . . . . . . . . . . . . . . .       10:00 a.m.
   9
                               TRANSCRIPT OF HEARING
  10                   BEFORE THE HONORABLE JOHN T. DORSEY
                          UNITED STATES BANKRUPTCY JUDGE
  11
       APPEARANCES:
  12
       For the Debtor:              Adam Landis, Esquire
  13                                LANDIS RATH & COBB LLP
                                    919 Market Street, Suite 1800
  14                                Wilmington, Delaware 19801

  15                                James L. Bromley, Esquire
                                    SULLIVAN & CROMWELL LLP
  16                                125 Broad Street
                                    New York, NY 10004
  17

  18

  19   (APPEARANCES CONTINUED)

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  24
       Proceedings recorded by electronic sound recording,
  25   transcript produced by transcription service.
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                                                                          2

   1   APPEARANCES (CONTINUED):

   2   For the Debtors:             Matthew Lunn, Esquire
                                    YOUNG CONAWAY STARGATT & TAYLOR LLP
   3                                Rodney Square
                                    1000 North King Street
   4                                Wilmington, Delaware 19801

   5   For JPLS Bahamas:            Christopher Shore, Esquire
                                    WHITE & CASE LLP
   6                                1221 6th Avenue
                                    New York, New York 10020
   7

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   5           of an Examiner
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               the Official Committee of Unsecured Creditors
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  11           Retention and Employment of FTI Consulting,
               Inc., as Financial Advisor to the Official
  12           Committee of Unsecured Creditors
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   1          (Proceedings commence at 10:07 a.m.)

   2          (Call to order of the Court)

   3              THE COURT: Good morning, everyone.         Thank you.

   4   Please be seated.

   5              Mr. Landis.

   6              MR. LANDIS:     Good morning, Your Honor.       May I

   7   please the Court, Adam Landis, for the record, from Landis

   8   Rath & Cobb, on behalf of FTX Trading Ltd., and its

   9   affiliated debtors.

  10              Your Honor, we are here today with two agendas.             I

  11   don’t know if the Latin for that is agendum, but we are here

  12   with two agendas; one in the FTX Trading Ltd., case and one

  13   in the FTX Digital Markets case.        Nothing is contested, Your

  14   Honor, on either agenda.

  15              With respect to the FTX Trading agenda, and we have

  16   spoken with counsel to the joint provisional liquidators, we

  17   thought we would go forward with the FTX Trading Chapter 11

  18   agenda first. We filed a second amended agenda last night

  19   noting that the committee had filed certificates of counsel

  20   with respect to the professional retentions that had been

  21   contested by the U.S. Trustee.

  22              I note that, I think, as we were standing here this

  23   morning Your Honor signed the orders for FTI and Jefferies.

  24              THE COURT:     Yes.

  25              MR. LANDIS:     So, unless Your Honor has question
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   1   with respect to anything on the agenda, we believe we can

   2   move right to item number six which is the Court’s ruling

   3   with respect to the United States Trustees motion to appoint

   4   an examiner.

   5              THE COURT:     Okay.   I don’t have any questions.          So,

   6   we can go ahead.

   7              So, this is the ruling on the motion to appoint an

   8   examiner. The United States Trustee moved for the appointment

   9   of an examiner in these cases pursuant to Section 1104(c)(1)

  10   and (c)(2) of the Bankruptcy Code.        Section 1104 provides

  11   that if a Chapter 11 Trustee is not appointed in a case then

  12   at any time prior to confirmation of a plan:

  13              “On request of a party in interest or the United

  14   States Trustee, and after notice and a hearing, the Court

  15   shall appoint an examiner to conduct such an investigation of

  16   the debtor, as is appropriate, including an investigation of

  17   allegations of fraud, dishonesty, incompetence, misconduct,

  18   mismanagement, or irregularity in the management of the

  19   debtor if (I) such appointment is in the interest of the

  20   creditors, and any equity security holders, and other

  21   interests of the estate, or (II) the debtors fixed liquidated

  22   unsecured debts other then debts for goods, services, or

  23   taxes, or owing to an insider exceed $5 million.”

  24              The Trustee, joined by several state regulatory

  25   authorities, argues that because there are allegations of
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   1   massive fraud alleged against the debtors prepetition

   2   management the appointment of an examiner is in the best

   3   interest of the debtor’s creditors and other interest holders

   4   under 1104(c)(1).

   5              The Trustee also argues that even if I conclude the

   6   requirements of 1104(c)(1) have not been met, I am required

   7   to appoint an examiner under 1104(c)(2) because three of the

   8   debtors meet the debt threshold or the debtors do not, for

   9   the purposes of this motion, contest the debt limit with

  10   regard to the remaining debtors.

  11              The debtors, the committee, general unsecured

  12   creditors, and the joint provisional liquidators or FTX

  13   Digital Markets Ltd., appointed in the provisional

  14   liquidation proceeding pending in the Bahamas, object to the

  15   appointment of an examiner arguing that given the

  16   investigations being conducted by the debtors and the

  17   committee, as well as various federal law enforcement and

  18   regulatory agencies, there is no need to appoint an examiner

  19   to conduct yet another costly investigation that would slow

  20   the progress of these cases.       Moreover, the objectors argue

  21   that, contrary to the Trustees position, appointment of an

  22   examiner is not mandatory under 1104(c)(2) even if the debt

  23   threshold is met.

  24              For the reasons I will explain, I agree with the

  25   objectors and will deny the motion to appoint an examiner.
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   1              These cases have been described as unique, unusual,

   2   highly complex, and unprecedented to name just a few of the

   3   adjectives applied to them, and they have certainly lived up

   4   to that billing.     A multi-billion dollar company built over

   5   the course of just a few years.       A spectacular crash with

   6   billions worth of assets missing, allegations of gross

   7   mismanagement and massive fraud leading to criminal

   8   indictments and investigations by numerous federal agencies.

   9              Behind that backdrop sit the creditors and the

  10   customers of the debtors; individuals and entities that

  11   trusted the management of the company with a relatively new

  12   type of asset, cryptocurrency, as well as those who did

  13   business with the debtors on a day to day basis.           This case

  14   is about making sure that those parties get back as much

  15   value as possible from the debtor’s estates.

  16              That process began immediately prior to the filing

  17   of cases with the appointment of Mr. Ray as the new CEO of

  18   the debtors.    Although appointed by the previous CEO, Mr.

  19   Bankman-Fried, who is currently under federal indictment,

  20   there is no question that Mr. Ray is completely independent

  21   of prior management and the company seems appointed to lead.

  22              Mr. Ray is the consummate professional, highly

  23   qualified with decades of experience in taking control of

  24   companies in dire financial condition.         Mr. Ray, in turn,

  25   appointed four independent directors to three silos of debtor
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   1   entities to assist him in determining what happened, how to

   2   sort out the financial condition of the debtors, and return

   3   as much value as possible to creditors and customers.

   4              Each of the four directors are also highly

   5   qualified professionals with no prior connection with the

   6   debtors or the debtor’s prior management.         Mr. Ray also

   7   insured that all prior senior management of the debtors were

   8   removed; two of whom have been indicted and plead guilty to

   9   various crimes involving the management of the debtors.

  10   Although some prior officers of the debtors remain in place,

  11   there is no indication they were involved in any wrongdoing,

  12   and according to Mr. Ray all have been stripped of any

  13   decision making authority.

  14              Mr. Ray has also retained a group of highly

  15   qualified experts to assist in sorting through the debtor’s

  16   poorly maintained records.       In many instances records don’t

  17   exist at all because the recordkeeping was neglected by prior

  18   management.    Mr. Ray testified that those experts, among

  19   other things, are accessing the debtor’s extremely vulnerable

  20   electronic information containing crypto-assets that have

  21   already suffered hacking incidents both pre and post-petition

  22   before controls could be restored.        Those hacks resulted in

  23   the possible loss of hundreds of millions, if not billions of

  24   dollars’ worth, of crypto-assets.

  25              He further testified that he has been informed by
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   1   those experts that given additional persons access to the

   2   data creates the risk of further inadvertent disclosure or

   3   hacking of information that could lead to additional losses.

   4   Indeed, even committee counsel indicated that while they are

   5   working closely with the debtors in conducting investigations

   6   into what happened, the committee is not requesting direct

   7   access to the debtor’s data due to those risks.

   8              There is no question that an examiner or a Chapter

   9   11 Trustee, for that matter, appointed pursuant to Section

  10   1104 would have the same attributes as Mr. Ray and the

  11   independent directors.      That person would be independent with

  12   no connection to the debtors or the debtors prior management.

  13   That person would need to be qualified –- would need to be as

  14   qualified and as experienced as Mr. Ray and that person would

  15   retain qualified and experienced professionals to assist with

  16   the investigation.

  17              There is no question that if an examiner was

  18   appointed here the cost of the examination, given the scope

  19   suggested by the Trustee at the hearing, would be in the tens

  20   of millions of dollars and would likely exceed $100 million.

  21   Contrary to the suggestion of the Trustee, the debtors and

  22   the committee could not merely sit idly by while a months

  23   long investigation unfolded leading to exponential costs to

  24   the estate which would have to be borne by the creditors.

  25              While the debtors may ultimately have billions of
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   1   dollars’ worth of assets to distribute, creditors will likely

   2   not come close to recovering the full amount of their losses

   3   and it may take some time to recover anything as the debtors

   4   and the committee work to claw back as much as the assets as

   5   possible.

   6                Given the facts and circumstances of this highly

   7   unique case I have no doubt that the appointment of an

   8   examiner would not be in the best interests of the creditors.

   9   There are already multiple investigations underway by

  10   incredibly competent and independent parties.          Requiring

  11   creditors to bear the burden of yet another investigation

  12   does not comport with the requirements of Section 1104(c)(1)

  13   or the general scheme of the bankruptcy code; that is to

  14   maximize to recovery to creditors.

  15                It is important to keep in mind that while we talk

  16   about the cost of an investigation being born by the debtors

  17   we are actually talking about the cost being born by the

  18   creditors.    Every dollar spent in these cases on

  19   administrative expenses is a dollar less to the creditors;

  20   therefore, I will deny the request to appoint an examiner

  21   under 1104(c)(1).

  22                The Trustee argues, however, that even if I

  23   conclude that the appointment of an examiner is not in the

  24   best interests of the creditors, I am still obligated to

  25   appoint one as mandated by Section 1104(c)(2) because the
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                                                                          11

   1   debtors met the debt threshold or, at least, do not contest

   2   that they do for purposes of this motion.         Even the Trustee

   3   concedes, however, that a Bankruptcy Court has some

   4   discretion in determining whether or not an examiner must be

   5   appointed under 1104(c)(2), for example, for a motion to

   6   appoint an examiner is being used by a creditor to obtain an

   7   advantage in plan negotiations.        In other words, the Trustee

   8   agrees there are times when the appointment of an examiner

   9   would not be appropriate under 1104(c)(2).

  10              To be sure there is a split of authority over

  11   whether 1104(c)(2)leaves any discretion on the appointment of

  12   an examiner, Courts that hold there is no discretion

  13   concentrate on the language in 1104 that states:

  14              “The Court shall appoint an examiner if the debtor

  15   meets the debt requirements of (c)(2).”

  16              Those Courts either ignore the additional language

  17   of 1104 that states: “To conduct such an investigation of the

  18   debtors as is appropriate” or conclude that the language only

  19   means the Court can direct the scope and nature of an

  20   examination after an examiner is appointed.          For example, see

  21   In Re Revco, 898 F.2d 498 at 501, Sixth Circuit (1990).            The

  22   Court held appointment is mandatory, but: “The Bankruptcy

  23   Court retains broad discretion to direct the examiner’s

  24   investigation including its nature, extent, and duration.”

  25              The Sixth Circuit is the only Circuit Court of
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   1   Appeals to consider the issue.       Other courts have concluded

   2   that the as appropriate language in 1104(c) permits a

   3   Bankruptcy Court to deny the appointment of an examiner in

   4   limited circumstances even if the debtor meets the debt

   5   requirements of (c)(2).

   6              Examples are In Re Residential Capital LLC, 474

   7   B.R. 112, 117, Bankruptcy SDNY (2012); In Re Dewey & LeBoeuf,

   8   478 B.R. 627, 629, Bankruptcy SNDY (2012); In Re Shelter

   9   Resources, 35 B.R. 304, 305, Bankruptcy Northern District of

  10   Ohio (1983); In Re Gilman Services, 46 B.R. 322, 327,

  11   Bankruptcy District of Massachusetts (1985); In Re Erickson

  12   Retirement Communities LLC, 425 B.R. 309 at 312, Bankruptcy

  13   Northern District of Texas (2010); In Re GHR Companies, Inc.,

  14   43 B.R. 165, 170, Bankruptcy District of Massachusetts

  15   (1984).

  16              Indeed, every bankruptcy judge in this district to

  17   consider the issue has concluded that there is discretion;

  18   see In Re SA Telecom Inc., Case No. 97-2395-2401, Judge

  19   Walsh, March 27th, 1998, Hearing Transcript at 82; In Re

  20   Spansion, 426 B.R. 114, 128, Bankruptcy Court District of

  21   Delaware (2010), a Judge Shannon decision; In Re Visteon

  22   Corporation, No. 09-11786, a Judge Sontchi decision from May

  23   12th, 2010, Hearing Transcript at 170; In Re Washington

  24   Mutual, Inc., Case No. 08-12229, a Judge Walrath decision,

  25   Bankruptcy District of Delaware, May 5th, 2010, Hearing
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   1   Transcript at 97; and two of my own prior cases In Re Cred

   2   Inc., Case No. 20-12836, Bankruptcy District of Delaware,

   3   December 12th, 2020, Hearing Transcript at 95, and In Re

   4   Mallinckrodt PLC, Case No. 20-12522, November 22nd, 2021,

   5   Hearing Transcript 28 through 46.

   6              As Judge Glenn posited the question in Residential

   7   Capital:

   8              “If the as is appropriate language provides such

   9   discretion with respect to the nature, extent, and duration

  10   of the investigation, then why doesn’t the same language

  11   provide discretion to just say no to an examiner

  12   investigation where it may not be justified on the particular

  13   facts and circumstances of the case.”

  14              That is 474 B.R. at 118.

  15              As the Trustee pointed out during argument,

  16   ultimately Judge Glenn did appoint an examiner in Residential

  17   Capital because (I) no plan had been confirmed; (II) no

  18   Trustee had been appointed; (III) the debtor had fixed debts

  19   exceeding $5 million; and (IV) investigation was appropriate,

  20   and an investigation by the committee had just begun.

  21              The first three elements of this analysis are

  22   certainly present here, but while one could argue the fourth

  23   is also met because the debtors and the committee are in the

  24   early stages of their investigations the facts present here

  25   are fundamentally different then Residential Capital.
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   1                First, Judge Glenn recognized in Residential

   2   Capital that:

   3                “Other than the committee, there is currently no

   4   independent party with the ability and authority to fully

   5   investigate and analyze the transactions at issue.”

   6                Judge Glenn emphasized the no independent party in

   7   that state.     By contrast, in this case, all the senior

   8   managers of the company accused of wrongdoing have been

   9   removed and replaced by extremely competent independent

  10   professionals led by Mr. Ray with the ability and authority

  11   to investigate all claims that might ultimately benefit the

  12   creditors in these cases.

  13                Moreover, as indicated before, all remaining

  14   employees and officers of the debtors that have not been

  15   accused of wrongdoing do not possess any decision-making

  16   authority.    Mr. Ray has also retained professionals that are

  17   fully capable of conducting a thorough investigation.

  18                Second, as Judge Glenn recognized, an examiner

  19   investigation might not be appropriate when, among other

  20   things, the debtors senior management has been indicted; 474

  21   B.R. at 118, Footnote 6.      Here, of course, senior management

  22   has been indicted; two have plead guilty and a third is

  23   scheduled for trial in October.

  24                Finally, the issues to be investigated in

  25   Residential Capital involved a “Complex constellation of pre
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                                                                          15

   1   and post-bankruptcy transactions involving billions of

   2   dollars in transfers and financing among interested parties.”

   3   That is at 115, Note 3, emphasis on “interested parties.”

   4                In Residential Capital the allegations were that

   5   transfers between the debtors and certain secured creditors

   6   benefited the secured creditors to the detriment of unsecured

   7   creditors.    Here, there are no secured creditors.         There are

   8   only unsecured creditors.

   9                Finally, the issues to be investigated in

  10   Residential Capital –- excuse me, moreover, while the

  11   transfers at issue in Residential Capital were clearly

  12   complex commercial transactions, there was no indication that

  13   accessing the debtor’s financial information would create a

  14   risk of further harm to the debtors or their creditors.            By

  15   contrast, the uncontroverted testimony during the hearing in

  16   this matter established that given the debtor’s business and

  17   the vulnerability of the debtor’s financial data, permitting

  18   additional parties access to the financial information would

  19   create an increased risk of further loss through inadvertent

  20   disclosures or hacking.

  21                Therefore, I conclude that under the facts and

  22   circumstances of these cases, appointment of an examiner is

  23   not needed pursuant to 1104(c)(2) and appointing one would

  24   impose an unnecessary burden on the debtors and ultimately

  25   the creditors for whose benefit these cases are being
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   1   pursued.   Contrary to the Trustees position this is not

   2   inconsistent with the language of the statute or the

   3   legislative history.

   4              Congress did not explain the language of the

   5   statute itself what it meant by the “as is appropriate”

   6   limitation.    As I previously mentioned, many courts have

   7   concluded that it means a Bankruptcy Court must always

   8   appoint an examiner if the debt limit has been met, but can

   9   limit the nature, extent and duration of any examination.

  10   Others have concluded that if the Bankruptcy Court can limit

  11   the scope and duration it must also mean that the Court can

  12   conclude that no examination is needed at all under specific

  13   facts and circumstances.

  14              Clearly, there is more than one logical conclusion

  15   as to the meaning of Section 1104(c).         The legislative

  16   history of 1104(c), which at the time of its enactment was

  17   1104(b), concluded that:

  18              “The standards for the appointment of an examiner

  19   are the same as those for the appointment of a Trustee. The

  20   protection must be needed and the cost and expense must not

  21   be disproportionately high.”

  22              HR Rep No. 95-595, Ninety-Fifth Congress First

  23   Section 402 (1977).

  24              Thus, the legislative history supports the

  25   conclusion that an examiner shall be appointed “as
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   1   appropriate under the particular circumstances of the case,”

   2   but “the protection must be needed.”        That legislative intent

   3   is met in cases where even though the debt limit of

   4   1104(c)(2) is met the evidence establishes and examiner is

   5   not needed under the facts and circumstances of a particular

   6   case.

   7                Therefore, I will sustain the objections and deny

   8   the motion to appoint an examiner.        The parties should meet

   9   and confer and submit a form of order under certification of

  10   counsel.

  11                Any questions?

  12           (No verbal response)

  13                 THE COURT:    Next up.

  14                 MR. LANDIS:     Thank you, Your Honor.

  15                 I just wanted to go back very briefly to the

  16   second amended agenda.        There’s an Item 5 that was the

  17   committee’s motion for permission to file a response to the

  18   United States Trustees objection.        I believe that matter is

  19   mooted out and the committee is not pressing it, but I

  20   didn’t, for house keeping purposes, want to just let that

  21   hang out on the agenda.        So, you’ll probably hear from the

  22   committee on that.

  23                 THE COURT:    It does seem moot.

  24                 MR. LUNN:    Your Honor, Matthew Lunn from Young

  25   Conaway.
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   1                I believe it’s just the motion for relief to file

   2   the reply Your Honor.      Simply procedure.     I don’t believe the

   3   U.S. Trustee had an objection to it.        Housekeeping we can

   4   upload a form of order if it’s acceptable.

   5                THE COURT:    Al right.    We’ll go ahead and just

   6   enter the order.

   7                MR. LANDIS:    Thank you.    I just wanted to make

   8   sure that that loose end was tied.        And with that, we can

   9   pass the podium over to counsel to the joint provisional

  10   liquidators.

  11                THE COURT:    All right.

  12                MR. SHORE:    Good morning, Your Honor.       Chris Shore

  13   from white & Case on behalf of the joint provisional

  14   liquidators in the Chapter 15 case now.

  15                We’re here today seeking recognition of the

  16   pending Bahamian liquidation as a foreign proceeding and

  17   grating related relief.      Tending in the courtroom today are

  18   Brian Simms and Peter Greaves; two of the JPL’s.           The third,

  19   Kevin Cambridge, unfortunately was unavailable to come today

  20   because he has COVID.

  21                As for today’s agenda, we’re happy to report that

  22   there’s no pending objections to our request for recognition.

  23   So, if it’s okay with the Court, I’d like to proceed as

  24   follows:

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   1                First, I’d like to move in the evidence into the

   2   record and request that the Court enter the proposed form of

   3   order which we filed on Monday at Docket 125.          Then I’d like

   4   to give the Court a fifteen minute status update, not in the

   5   way of evidence, but just to give Your Honor a sense of what

   6   the JPL’s have been doing and give you kind of a six month

   7   look forward so you know what’s going to be happening in the

   8   case.

   9                And good news is I don’t perceive that we’re going

  10   to be doing a lot in the fifteen over that time but maybe at

  11   the end we can set a further status conference just to let

  12   you know what’s happening in that proceeding.          And, of

  13   course, at any time if Your Honor has questions, I’m happy to

  14   answer them or have others assist in the answer.

  15                As for the evidence, the verified petition is

  16   filed at Docket No. 1 of the Chapter 15.         We have three

  17   declarations that we’d like to submit into evidence in

  18   support of the application.       Those are the two declarations

  19   of Mr. Simms and the declaration of Sophia Rolle-Kap in

  20   support of the petition at Dockets 2, 5, and 8.

  21                Mr. Simms is here should you have any questions

  22   for him.   Ms. Rolle-Kap had to be in the Bahamas yesterday at

  23   the recognition of the debtors Chapter 11 cases in the

  24   Bahamian proceedings, but she is available via zoom should

  25   the court have any questions about the intricacies of
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   1   Bahamian liquidation law, but I’d like to offer their

   2   declarations into evidence as Exhibits 1 to 4 on the exhibit

   3   list.   We distributed it to the parties in interest and the

   4   C.   And also move into evidence Exhibit 5 which is an order

   5   from the Supreme Court of the Bahamas regarding the JPL’s

   6   ability to commence the Chapter 15 action.

   7                THE COURT:    Okay.    Anyone have an objection to

   8   introduction of the evidence?

   9                MR. BROMLEY:    Your Honor, Jim Bromley from

  10   Sullivan & Cromwell on behalf of the Chapter 11 debtors.

  11                We do not have an objection to the admission of

  12   the evidence with respect to the recognition proceeding, but

  13   there are certain aspects of the declarations which we

  14   believe go beyond the four corners of the Chapter 15

  15   recognition.    So, as long as it’s limited just to Chapter 15

  16   recognition, just to this hearing, and just to this relief,

  17   we have no objection.

  18                THE COURT:    All right.    They’re admitted without

  19   objection subject to the limitation that Mr. Bromley

  20   requested.

  21           (Evidence received into evidence)

  22                MR. SHORE:    As for the motion itself as part of

  23   the cooperation agreement that we entered into with the

  24   debtors, we agreed to support their application for

  25   recognition of the Bahamas.        They agreed to support our
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   1   application here and we took their comments on the order.               We

   2   then reached agreement on language with the DOJ, the U.S.

   3   Trustee, and the committee.        So, as I said, the form of

   4   order, which has been agreed to by the parties, is at Docket

   5   125.

   6                 I do want to note that there have been a number of

   7   informal letters submitted by Mr. Leslie Stewart, a Bahamian

   8   citizen.    Specifically, he sent a letter that was docketed in

   9   the Chapter 11 cases at Docket 357 and some others.           We don’t

  10   believe any of them constitute an objection to recognition

  11   but wanted to raise this to Your Honor’s attention.

  12                 THE COURT:   I did see those letters and I directed

  13   they be put on the docket just because I wanted everyone to

  14   be able to see what kind of things that I’m receiving from

  15   folks.

  16                 MR. SHORE:   Yes, Your Honor.     So, unless the Court

  17   has any questions, we’d respectfully request that the court

  18   enter the amended proposed order and we move to the status

  19   update.

  20                 THE COURT:   Okay.    Anybody wish to be heard on the

  21   recognition?

  22            (No verbal response)

  23                 THE COURT:   All right.    Satisfied the relief is

  24   appropriate, I will enter the order.

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   1                MR. SHORE:    So, just to -- I wanted to give Your

   2   Honor a sense of where the JPL’s have been and, as I said,

   3   give a kind of six month look forward so you know what’s

   4   going on and I’ll focus on, if you think of the debtors

   5   presentation in the silos, FTX Digital is a subsidiary within

   6   the FTX international platform, that international silo.

   7                Now, the first day presentation may have left the

   8   court with the impression that the FTX Digital estate played

   9   an undersized role in the saga and I do want to address that

  10   because it is actually, from our perspective, a big piece of

  11   the puzzle that’s going to need to get resolved.

  12                At the time of the collapse, Digital employed

  13   eighty-four persons including thirty-eight who were

  14   transferred over from other FTX debtor entities including a

  15   board in key management personnel.        That company was the

  16   headquarters in Nassau, Bahamas.        It’s one of fifty-two

  17   properties that the JPL’s have identified in the Bahamas all

  18   held in the name of a Chapter 11 debtor in this case, FTX

  19   Property Holdings.     Amongst those properties was a deluxe

  20   office suite, residential complexes, and accommodations for

  21   the employees, and a six acre FTX campus in New Providence,

  22   Bahamas.   All of these properties, we seem to think, are

  23   worth north of $250 million.       They were financed by FTX

  24   Digital and are on FTX’s Digital’s balance sheet as

  25   intercompany receivables.
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   1                As part of the cooperation agreement, we’ve agreed

   2   with the debtors that the JPL’s will take the lead on

   3   liquidating that real estate in the Bahamas.          So, there is a

   4   big real estate piece in FTX Digital.

   5                THE COURT:    There was a motion to dismiss that

   6   entity, wasn’t there?

   7                MR. SHORE:    I thought it was the Turkish

   8   proceeding that did get dismembered.

   9                THE COURT:    I thought I remembered seeing another

  10   one for one of the Bahamian entities.

  11                MR. BROMLEY:    Yes, Your Honor.     The properties in

  12   the Bahamas are actually owned in fee by a U.S. debtor, and

  13   the joint provisional liquidators did file a motion to

  14   dismiss that individual proceeding.        That’s been resolved --

  15                THE COURT:    Okay.

  16                MR. SHORE:    Sorry. Yes.    That one has been

  17   resolved as part of the corporation agreement.          We’re going

  18   to go ahead and mark it and sell those assets, and then we’re

  19   going to have a discussion about where those assets go at a

  20   later date, but --

  21                THE COURT:    So, I need to put something on the

  22   docket to close that out, close that motion out.

  23                MR. SHORE:    Okay.   We can address that.

  24                So, of the eighty-four employees who were living

  25   in the Bahamas at the time, there are sixteen employees who
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   1   remain working on a variety of forensics matters and

   2   assisting with ongoing investigations.         But moving back in

   3   time, as Mr. Bromley said at that first day hearing, the FTX

   4   international platform was primarily a digital assets trading

   5   in exchange platform for not U.S. citizens.

   6                To that end, FTX was created -- FTX Digital was

   7   created in July 2021 for maintaining -- for the purpose of

   8   migrating the business.      And you might remember Mr. Bromley

   9   said that the entity was moving around the country and then

  10   offshore.    It was all going to be moving to the Bahamas where

  11   this giant real estate conglomeration was and then

  12   headquarters.    And that was going to allow FTX Group to take

  13   advantage of the Bahamas favorable regulatory environment in

  14   the newly created DARE Act which you’ve kind of heard about.

  15                The question that’s going to come up in this case

  16   is what was the status of that movement between the time that

  17   Digital was created and FTX and Digital filed their

  18   respective proceedings.      And I’m going to come back to that

  19   migration concept in a bit, but I did want to give Your Honor

  20   a sense before I get there of how the Bahamian proceeding is

  21   going to go along.     The Bahamian proceedings are either

  22   voluntary or court supervised.       Ours is court supervised.          To

  23   that end, Mr. Simms, Mr. Greaves, and Mr. Cambridge were

  24   appointed as joint provisional liquidators.

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   1                They -- the Supreme Court of the Bahamas has

   2   exclusive jurisdiction.      Right?   Your Honor has exclusive

   3   jurisdiction over assets worldwide of the debtors.           The

   4   Supreme Court of the Bahamas is the one that has exclusive

   5   jurisdiction over insolvency proceedings and has broad

   6   authority to make winding up orders for all types of

   7   companies.

   8                When a company is being wound up compulsively by

   9   the Court, the Court issues an order which describes the

  10   steps that the liquidators must take to liquidate the company

  11   and the liquidator then -- as the JPL’s here have been filing

  12   periodic status updates with the Bahamian Court as to have,

  13   they’re doing on the order laying out their duties.

  14                Once appointed, liquidators generally gather

  15   assets, distribute the companies’ assets to the creditors on

  16   a pari passu basis.     They have broad authority to bring and

  17   defend lawsuits, file claims, engage in business on behalf of

  18   the debtors, so it’s best really to think about the JPL’s as

  19   Chapter 11 debtors.     There are some distinctions, but

  20   normally the process runs that way.

  21                So, to that end, over the past few months, let’s

  22   talk about what they’ve been doing and then I’ll come to what

  23   needs to get done.     Beginning right from appointment, the

  24   JPL’s took steps to identify and gain custody of cash.

  25   They’ve identified approximately $143 million of cash held by
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   1   Silvergate and Moonstone which Your Honor may have heard

   2   about.   We filed requests for provisional relief with respect

   3   to those funds and then, as the Court knows, the U.S.

   4   Department of Justice seized the funds, but the JPL’s are an

   5   active discussion with the DOJ with respect to the release of

   6   the funds and hope to have a consensual resolution on that.

   7                The JPL’s also established cash management

   8   controls to ensure proper stewardship and security over the

   9   estate funds, much like the debtors have been doing, and the

  10   controls include rolling cash flow forecasts, payment

  11   approval controls, anti-money laundering, treasury controls;

  12   all the things that you would expect a U.S. Chapter 11

  13   Trustee to do.

  14                There have been significant efforts, and it’s part

  15   of their requirements, to communicate with customers and

  16   creditors.    The JPL’s launched a general informational

  17   website and creditor portal website.        They’ve also sent

  18   letters out to approximately 2.4 million of potential

  19   customers inviting them to register their contact information

  20   in order to receive updates of what’s going on.

  21                They’ve also been, much like the U.S. debtors,

  22   been in active communication with regulators in the Bahamas

  23   and in the U.S., and participating in investigations as well.

  24   We have been active in the Chapter 11 case.          I’ll get to it.

  25   We believe we’re a very large creditor in these cases, but,
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   1   you know, the main goal, which we reached early on in the

   2   case, was the cooperation agreement which this Court has

   3   approved, and the Bahamian Court has approved.          And it just

   4   gives us a framework from which we’re going to try and figure

   5   out how the two proceedings are going to be done.

   6                This is where we are, just to get a sense of the

   7   current financial picture, not evidence, but just give Your

   8   Honor a sense of the size of what we’re talking about.            As I

   9   said, there’s about $220 million in cash, $143 subject to the

  10   DOJ seizure order.     There’s the $276 million receivable

  11   relating to the property, but so far, the JPL’s have traced

  12   two major sources of out flows from their accounts in the

  13   lead up to the case.     $5.6 billion was transferred from FTX

  14   Digital custodial accounts to a U.S. debtor, FTX trading, and

  15   $2.1 billion was transferred from FTX Digital custodial

  16   accounts to Alameda, another Chapter 11 debtor.

  17                So, to get the proper sense of the size here,

  18   we’re talking about $7.7 billion of cash out flows from the

  19   Bahamian estate to the U.S. debtors.        And then we have other

  20   tangible assets of about $3 million mostly relating to office

  21   furniture, equipment, and the fleet of cars that the

  22   employees had in the Bahamas.

  23                So, that’s where we stand right now.        Over the

  24   next six months -- we got a deal with the customer migration

  25   issue.   Obviously, determining whether customers were
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   1   customers of U.S. debtors or Digital is going to be critical

   2   to any distribution scheme.       We’ve got to address the issue

   3   of customer trust claims as has happened in many other crypto

   4   cases.   There are unresolved legal and factual issues as to

   5   the nature of the customers deposits whether they’re held in

   6   trust, whether they’re general unsecured claims, and we’re

   7   going to need to work through that.

   8                 We’ve got open trade contracts that we’re going to

   9   need to address and see if there can’t be a way to

  10   restructure the platform, and then as the debtors are doing

  11   here, there’s a ton of work being done into antecedent

  12   transactions.    Not just intercompany, but also with respect

  13   to third parties to determines whether those third parties or

  14   any of the persons associated with the transactions need to

  15   bring money back into the estate.

  16                 So, as I said, there’s a lot of work that needs to

  17   be done.   I’m not sure how much of it is going to need the

  18   involvement of the Court, but we may be back seeking

  19   additional relief from the Court to be able to get all that

  20   stuff done.    And unless Your Honor has any questions, I just

  21   think we -- it’s probably best to set a status conference

  22   sometime in the May, June timeframe and come back and kind of

  23   tell you where we are on those issues and then give you a

  24   look forward again just so you’re not wondering what’s

  25   happening with your Chapter 15 case.
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   1                 THE COURT:     Okay.   I appreciate the update, Mr.

   2   Shore.   Why don’t we set a status conference for May 17th at

   3   10:00 a.m.

   4                 MR. SHORE:     All right.    Thank you very much, Your

   5   Honor.

   6                 THE COURT:     Thank you.    I appreciate it.

   7                 Mr. Bromley.

   8                 MR. BROMLEY:     Your Honor, I just would like to

   9   mention a couple things from our perspective.          One, is we did

  10   have a hearing yesterday in the Bahamas and the Supreme Court

  11   of the Bahamas has agreed to enter an order that would be

  12   consistent with the order that Your Honor will enter here to

  13   allow the two proceedings -- sets of proceedings to be

  14   recognized.    The U.S. proceedings being recognized in the

  15   Bahamas, the Bahamian proceedings being recognized here in

  16   the United States.

  17                 THE COURT:     Okay.   I don’t know if you’re just not

  18   speaking into the microphones or if we’re --

  19                 MR. BROMLEY:     No.   I’m sorry.   I’m a little rough

  20   today.

  21                 THE COURT:     Yes.    I know the feeling.

  22                 MR. BROMLEY:     I wish I could say it was because I

  23   was out drinking last night, but I wasn’t.

  24                 THE COURT:     I wasn’t either.

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   1                 MR. BROMLEY:   Your Honor, just wanted to point out

   2   there was a hearing yesterday in the Bahamas.          The Supreme

   3   Court of the Bahamas has agreed to enter an order to

   4   recognize the Chapter 11 proceedings in the Bahamas so that

   5   there will be a coincident recognition in both jurisdictions,

   6   right.    So, we’ll have a recognition here.       A recognition in

   7   the Bahamas.    And the corporation agreement had required that

   8   both the orders be entered so they’re mutually dependent on

   9   each other.

  10                 The other thing I’d like to say, Your Honor, I

  11   hadn’t been aware that Mr. Shore was going to make any

  12   comments about issues, and one of the things that are coming

  13   up.   And I do think that it’s important that the Chapter 11

  14   debtors also make a statement here.        Many of the points that

  15   Mr. Shore mentioned is in terms of things like assets that

  16   were in Digital market accounts, or the migration of

  17   customers, and things of that sort.        Those are all open

  18   issues.

  19                 The cooperation agreement is a starting point, but

  20   the issues as to whether assets belong in the Bahamian estate

  21   or in the U.S. estate are open issues.         And so, the statement

  22   that Mr. Shore has made in that regard are statements that

  23   the U.S. debtors reserve all their rights on and, frankly,

  24   disagree with many of them.

  25                 THE COURT:   Understood.
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                                                                          31

   1                MR. BROMLEY:     Thank you, Your Honor.

   2                THE COURT:    Thank you.

   3                Anything else?

   4          (No verbal response)

   5                THE COURT:    Where do we stand on the examiner?

   6   You knew what I was going to ask, Mr. Landis.

   7                MR. LANDIS:    Thank you, Your Honor.      For the

   8   record, Adam Landis from Landis Rath & Cobb on behalf of the

   9   Chapter 11 debtors.

  10                Yes.   I saw that question coming and I can

  11   represent to the Court that the parties have been discussing

  12   this periodically.     Sometimes more frequently than others.

  13   But there are discussions going back and forth.          We’ve

  14   identified a couple of potential fee examiners and we’re

  15   trying to come to ground to have an agreement on this rather

  16   than submit it to the Court for the Courts determination.

  17                So, we’re still working on that.        We hope to have

  18   it done soon and we do appreciate that the Court is not going

  19   to approve any fee applications unless and until a fee

  20   examiner is appointed and has an opportunity to review those

  21   applications.

  22                THE COURT:    Okay.   Thank you.

  23                All right anything else?

  24         (No verbal response)

  25                THE COURT:    Well, it turned out to be a lot
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                                                                          32

   1   shorter hearing than I had anticipated.         I appreciate

   2   everyone’s cooperation.      I appreciate the updates.

   3                We are adjourned.     Thank you.

   4          (Proceedings concluded at 10:46 a.m.)

   5

   6

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  10

  11                                CERTIFICATION

  12                I certify that the foregoing is a correct

  13   transcript from the electronic sound recording of the

  14   proceedings in the above-entitled matter to the best of my

  15   knowledge and ability.

  16

  17   /s/ Mary Zajaczkowski                              February 15, 2023

  18   Mary Zajaczkowski, CET-531

  19   Certified Court Transcriptionist

  20   For Reliable

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